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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

                    CASE NO: 1:15-cv-00206-MW-GRJ

UBER PROMOTIONS, INC.,
a Florida corporation,

      Plaintiff,

      vs.

UBER TECHNOLOGIES, INC.,
a Delaware corporation,

     Defendant.
_____________________________/

            STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff UBER PROMOTIONS, INC. and Defendant UBER

TECHNOLOGIES, INC. (the “Parties”) have reached a settlement in the

above-captioned matter, the terms of which the Parties desire to remain

confidential.

      IT IS HEREBY STIPULATED AND AGREED by and between the

Parties that, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, all claims raised in this action by the Parties should be dismissed

with prejudice forthwith with each of the Parties to bear its own attorneys’

fees and costs.



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Dated July 12, 2016

Respectfully submitted,

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                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 12, 2016, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF. I also
certify that the foregoing document is being served this day on all counsel of
record identified on the attached Service List in the manner specified, either
via transmission of Notices of Electronic Filing generated by CM/ECF or in
some other authorized manner for those counsel or parties who are not
authorized to electronically receive Notices of Electronic Filing.



                                           s/ Chantal Z. Hwang
                                           Chantal Z. Hwang


                              SERVICE LIST
              Uber Promotions, Inc. v. Uber Technologies, Inc.
                    Case No. 1:15-cv-00206-MW-GRJ
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